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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DAVID E. KAPLAN, ROXY D. SULLIVAN,
LINDSEY RANKIN, MICHAEL S. ALLEN,
GARY W. MUENSTERMAN, and CHI-PIN HSU,
Individually and on Behalf of All Others Similarly
Situated,

Plaintiffs,

- against -
S.A.C. CAPITAL ADVISORS, L.P., S.A.C.
CAPITAL ADVISORS, INC., CR INTRINSIC
INVESTORS, LLC, STEVEN A. COHEN,
MATHEW MARTOMA, and SIDNEY GILMAN,

Defendants.

 

 

No. 12 Civ. 9350 (VM)

ECF CASE

CORPORATE DISCLOSURE STATEMENT

Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, defendant S.A.C.
Capital Advisors, Inc., by its undersigned counsel, hereby states that defendant S.A.C.
Capital Advisors, Inc., a non-governmental corporate party, has no parent corporation
and that no publicly held corporation owns 10% or more of its stock.

Respectfully submitted,

Dated: March 18, 2013

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